              Case 2:16-cr-00092-DAD Document 20 Filed 03/30/16 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MATTHEW G. MORRIS
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 3:15-MJ-24-CMK
12                                 Plaintiff,             [PROPOSED] FINDINGS AND ORDER
                                                          EXTENDING TIME FOR PRELIMINARY
13                          v.                            HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   JUAN CARLOS MONTALBO,
                                                          DATE: March 30, 2016
15                                Defendants.             TIME: 2:00 p.m.
                                                          COURT: Hon. Carolyn C. Delaney
16

17

18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on March 29, 2016.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.
27          THEREFORE, FOR GOOD CAUSE SHOWN:
28          1. The date of the preliminary hearing is extended to April 28, 2016, at 2:00 p.m.

      [PROPOSED] FINDINGS AND ORDER                        1
30
             Case 2:16-cr-00092-DAD Document 20 Filed 03/30/16 Page 2 of 2


 1         2. The time between March 30, 2016, and April 28, 2016, shall be excluded from calculation

 2 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3         3. Defendant shall appear at that date and time before the Magistrate Judge on duty.

 4

 5         IT IS SO ORDERED.

 6 Dated: March 29, 2016
                                                   _____________________________________
 7
                                                   CAROLYN K. DELANEY
 8                                                 UNITED STATES MAGISTRATE JUDGE

 9
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

      [PROPOSED] FINDINGS AND ORDER                    2
30
